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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


                                   )
LAWYERS’ COMMITTEE FOR CIVIL       )
RIGHTS UNDER LAW,                  )
                                   )
                        Plaintiff, )
                                   )                 Case No.: 1:19-cv-01981-RDM
    v.                             )
                                   )
CONSUMER FINANCIAL PROTECTION )
BUREAU,                            )
                                   )
                       Defendant. )
                                   )


                       NOTICE OF WITHDRAWAL OF COUNSEL

       PLEASE TAKE NOTICE that Martin J. Mackowski of the law firm Crowell & Moring

LLP hereby withdraws as counsel of record for Plaintiff Lawyers’ Committee for Civil Rights

Under Law in the above-captioned case.



Dated: May 1, 2020                                Respectfully submitted,


                                                  /s/ Martin J. Mackowski
                                                  Martin J. Mackowski (D.C. Bar No. 1045188)
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                                  CERTIFICATE OF SERVICE

        I, Martin J. Mackowski, certify that on May 1, 2020, I caused a true and correct copy of

the foregoing to be filed with the Clerk of the Court using the CM/ECF system, which will send

notice of the electronic filing to counsel for all parties.



                                                              /s/ Martin J. Mackowski




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